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                   13                                   UNITED STATES DISTRICT COURT

                   14                   NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

                   15

                   16 TWITTER, INC.,                                  Case No. 3:21-cv-1644-MMC

                   17                      Plaintiff,                 DEFENDANT’S REPLY IN SUPPORT OF
                                                                      MOTION TO DISMISS OR, IN THE
                   18             vs.                                 ALTERNATIVE, TRANSFER

                   19 KEN PAXTON, in his official duty as
                      Attorney General in Texas,                      Date:   May 7, 2021
                   20                                                 Time:   9:00 a.m.
                                   Defendant.                         Crtrm:  7, 19th floor
                   21                                                 Judge: Maxine M. Chesney

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                    1                                            INTRODUCTION

                    2            Under the ordinary rules governing jurisdiction and venue, Twitter’s claim should be

                    3 dismissed. Twitter does not seriously dispute that. For Article III jurisdiction, Twitter acknowledges

                    4 the general rule that an agency’s non-self-executing request for documents is not ripe for review

                    5 until the agency tries to enforce it. See ECF 58 at 18; Zimmer v. Connett, 640 F.2d 208, 209 (9th

                    6 Cir. 1981); Google v. Hood, 822 F.3d 212, 226 (5th Cir. 2016). And for personal jurisdiction, Twitter

                    7 agrees that “ordinary challenges to a state Attorney General’s efforts to gather information” cannot

                    8 be brought in another State. ECF 58 at 10.

                    9            Instead, Twitter argues that the rules for “routine cases” do not apply to its First Amendment

                   10 claim. Id. But there is no “free speech exception” to ordinary rules of jurisdiction and venue. In fact,

                   11 the Supreme Court has repeatedly refused to create such exceptions. See Clapper v. Amnesty Int’l

                   12 USA, 568 U.S. 398, 417–18 (2013); Calder v. Jones, 465 U.S. 783, 790 (1984) (“We also reject the

                   13 suggestion that First Amendment concerns enter into the jurisdictional analysis.”).

                   14            The First Amendment is important. But respecting constitutional and statutory limitations

                   15 on the authority of federal courts is important too. Twitter cannot avoid the ordinary rules of subject-

                   16 matter jurisdiction, personal jurisdiction, venue, or abstention just by bringing a free-speech claim.

                   17            Throughout its response, Twitter relies on the theory that its speech is being “chilled.” But

                   18 that theory finds no support in Twitter’s complaint or its evidence. Twitter already made the strategic

                   19 choice to base its claim on Defendant’s civil investigative demand being objectively chilling—

                   20 arguing it would deter a hypothetical person of ordinary firmness—not subjectively chilling. Twitter

                   21 has not established, and has not tried to establish, that a $50 billion company is deterred from

                   22 speaking because of the threat of ordinary document production. It cannot go back on that decision

                   23 now. Twitter’s claim should be dismissed.

                   24                                               ARGUMENT

                   25 I.         Twitter’s Challenge is Premature

                   26            Twitter does not seriously dispute the general rule that an agency’s non-self-executing
                   27 request for documents is not ripe for review until the agency tries to enforce it. See Zimmer v.

                   28 Connett, 640 F.2d 208, 209 (9th Cir. 1981); Google v. Hood, 822 F.3d 212, 226 (5th Cir. 2016). It
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                    1 seems to agree that an injury based on the “compelled production of documents” is not ripe until the

                    2 agency actually tries to compel document production. ECF 58 at 18. Twitter also does not dispute

                    3 that Defendant has not tried to enforce the non-self-executing civil investigative demand (“CID”) at

                    4 issue here.

                    5            Instead, Twitter urges that its claim is special because it involves “First Amendment injury—

                    6 chilling of speech.” ECF 58 at 18. That contradicts Supreme Court precedent. If the underlying

                    7 government activity being challenged is not sufficiently imminent to support jurisdiction, then the

                    8 supposed “chilling effect” of that activity is also insufficient to support jurisdiction. See Clapper,

                    9 568 U.S. at 417–18.1

                   10            In Clapper, the plaintiffs challenged a federal surveillance statute under the First

                   11 Amendment. 568 U.S. at 407. They had two theories of standing: (1) the risk that their

                   12 communications would be “intercepted,” and (2) their reaction to that risk, namely the “costly and

                   13 burdensome measures [taken] to protect the confidentiality of their communications.” Id. at 410,

                   14 415. The plaintiffs specifically complained “that the threat of surveillance sometimes compels them

                   15 to avoid certain e-mail and phone conversations,” that is, that their speech had been chilled. Id. at

                   16 415. Still, the Supreme Court held that they lacked standing. See id. at 422.

                   17            The first theory failed because government surveillance of the plaintiffs was not “imminent.”

                   18 Id. at 410–14. The second theory failed because even “a reasonable reaction to a risk of harm is

                   19 unavailing” when “the harm [the plaintiffs] seek to avoid is not certainly impending.” Id. at 416.

                   20 “[A]llowing [the plaintiffs] to bring this action based on costs they incurred in response to a

                   21 speculative threat would be tantamount to accepting a repackaged version of [their] first failed

                   22 theory of standing.” Id. The “chilling effect” associated with a non-imminent risk of surveillance

                   23 could not support standing. Id. at 417–18.

                   24            The same reasoning applies here. Twitter does not dispute that a challenge to the “compelled

                   25 production of documents” is not yet ripe. ECF 58 at 18. So the alleged chilling effect, which amounts

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                      1
                        Clapper analyzed Article III standing, but “[t]he doctrines of standing and ripeness ‘originate’
                   27 from the same Article III limitation” and “in this case ‘boil down to the same question.’” Susan B.

                   28 Anthony List v. Driehaus, 573 U.S. 149, 158 n.5 (2014); see Prestage Farms, Inc. v. Bd. of Sup’rs
LEWIS                 of Noxubee Cty., 205 F.3d 265, 268 n.7 (5th Cir. 2000).
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                    1 to nothing more than Twitter’s supposedly “reasonable reaction to a risk of” document production,

                    2 also cannot support a claim for prospective relief. Clapper, 568 U.S. at 416. Nor can the costs of

                    3 counsel, see ECF 58 at 17, support jurisdiction. Twitter “cannot manufacture standing by incurring

                    4 costs in anticipation of non-imminent harm.” Clapper, 568 U.S. at 422.2

                    5            Twitter suggests that the ordinary rules of ripeness should not apply “[i]n a First Amendment

                    6 action such as this . . . . because delaying adjudication would continue to constrain its . . . content

                    7 moderation activities.” ECF 58 at 17–18. But there cannot be a First Amendment exception to

                    8 Clapper because Clapper was itself a First Amendment case. See 568 U.S. at 407. In any event, the

                    9 supposed “chilling effect” caused by standard delays in adjudicating First Amendment rights do not

                   10 justify abandoning normal jurisdictional limitations.

                   11            In We, Inc. v. City of Philadelphia, a litigant argued that its First Amendment rights entitled

                   12 it to a collateral-order appeal, that is an exception from the ordinary rule denying appellate

                   13 jurisdiction over interlocutory appeals. 174 F.3d 322 (3d Cir. 1999). The litigant did not want to

                   14 wait for a final judgment because the delay would create “an unconstitutional chill of the right to

                   15 petition” protected by the First Amendment. Id. at 327. The court rejected that argument. Relying

                   16 on free speech precedent, the Third Circuit explained that “[t]he courts have never recognized . . .

                   17 that an immunity from suit was necessary to prevent an unacceptable chill of those First Amendment

                   18 rights.” Id. In line with modern precedent, it “rejected the notion that the burden of litigation poses

                   19 an unacceptable threat to First Amendment values.” Id. at 328.

                   20            Twitter goes a step further than the argument rejected in We, Inc. Twitter claims not just an

                   21 immunity from suit but also an immunity from investigation. But a supposed “threat to First

                   22 Amendment values” does not justify expanding this Court’s jurisdiction, just as it could not justify

                   23 expanding the Third Circuit’s jurisdiction in We, Inc.

                   24            Moreover, Twitter’s speech has not actually been chilled. On the merits, Twitter claims that

                   25 it “need not show its speech was actually inhibited or suppressed,” so it did not even try. ECF 5 at

                   26 15 (alterations and quotations marks omitted). Instead, Twitter rests entirely on the theory that a
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                        2
                   28     Even if the cost of counsel could support standing, it could not support a finding of irreparable
LEWIS                   injury. See ECF 38 at 17.
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                    1 hypothetical person of “ordinary firmness” would be chilled. Id. Twitter’s only evidence about the

                    2 issuance of the CID (as opposed to speculation about potential future enforcement actions) stops

                    3 well short of claiming Twitter was chilled. It says only that “[t]he fact that Twitter was served with

                    4 this . . . CID has the potential to color Twitter’s future content moderation decisions.” ECF 5-1,

                    5 Williams Decl. ¶ 14 (emphasis added).

                    6            Twitter’s complaint asserts that “the CID and associated investigation chill Twitter’s

                    7 speech,” ECF 1 ¶ 64, but that “bare assertion[]” is “not entitled to the assumption of truth.” Ashcroft

                    8 v. Iqbal, 556 U.S. 662, 680 (2009). And the factual allegations in Twitter’s complaint establish that

                    9 its content-moderation decisions have not been chilled. As previously explained, see ECF 38 at 18–

                   10 19, those factual allegations establish that Twitter continued moderating content in the manner it

                   11 saw fit, and contrary to General Paxton’s alleged preferences, long after Twitter learned of General

                   12 Paxton’s alleged “displeasure.” ECF 1 ¶ 3; see id. ¶¶ 22–31, 36, 38.

                   13            Twitter’s last argument is that its request for a declaratory judgment is different. See ECF

                   14 58 at 21–22. Not so. Twitter admits that Zimmer rejected not only an injunction but also declaratory

                   15 relief. See id. at 21. Twitter emphasizes that Google v. Hood did not address declaratory relief, but

                   16 that is only because the Fifth Circuit lacked appellate jurisdiction to consider declaratory relief in

                   17 an interlocutory appeal. 822 F.3d at 228 n.14 (citing 28 U.S.C. § 1291(a)(1)). That declaratory relief

                   18 may be appropriate in some retaliation cases is irrelevant. See ECF 58 at 21. Because Twitter has

                   19 not established an Article III case or controversy, declaratory relief is barred. See U.S. Const. art.

                   20 III, § 2; 28 U.S.C. § 2201 (requiring an “actual controversy within [the court’s] jurisdiction”).

                   21 II.        Twitter Has Not Established Personal Jurisdiction

                   22            A.        This Court Lacks Specific Personal Jurisdiction Because Twitter’s Claim Is
                                           Based on Conduct in Texas
                   23
                                           1.    Investigating Twitter for Misleading Texas Consumers in Violation of
                   24                            Texas Law Is Not Purposefully Directed toward California
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                                 Twitter concedes that mailing the CID to Twitter’s headquarters was not “purposeful
                   26
                        activity” directed at California for purposes of personal jurisdiction. ECF 58 at 6. There are
                   27
                        numerous cases rejecting personal jurisdiction based on analogous communications. See, e.g.,
                   28
LEWIS                   Yahoo! Inc. v. La. Ligue Contre Le Racisme, 433 F.3d 1199, 1208 (9th Cir. 2006) (en banc) (cease-
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                    1 and-desist letter); Stroman Realty, Inc. v. Wercinski, 513 F.3d 476, 484–85 (5th Cir. 2008) (same).

                    2 Morningside Church v. Rutledge, No. 3:20-cv-05050, 2020 WL 5077255, at *3 (W.D. Mo. Aug. 27,

                    3 2020) (civil investigative demand under DTPA). Trying to distinguish these cases, Twitter focuses

                    4 on irrelevancies.

                    5            First, Twitter once again effectively asks the Court to create a free-speech exception for any

                    6 plaintiff who claims to be “unconstitutionally chill[ed]” by conduct that violates “First Amendment

                    7 rights.” ECF 58 at 6; see id. at 10–11. But the Supreme Court has “reject[ed] the suggestion that

                    8 First Amendment concerns enter into the [personal] jurisdictional analysis.” Calder, 465 U.S. at

                    9 790. It explained that “[t]he potential chill on protected First Amendment activity stemming from

                   10 libel and defamation actions is already taken into account in the constitutional limitations on the

                   11 substantive law governing such suits. To reintroduce those concerns at the jurisdictional stage would

                   12 be a form of double counting.” Id. (citations omitted). The same is true for retaliation claims.

                   13            Second, Twitter asserts that the inquiry focuses on “where the defendant’s actions are felt,

                   14 whether or not the actions themselves occurred within the forum.” ECF 58 at 4 (quotation marks

                   15 and alterations omitted). But that is no longer the rule. Just last month, the Supreme Court clarified

                   16 that “Walden held [that] the place of a plaintiff’s injury and residence cannot create a defendant’s

                   17 contact with the forum State.” Ford Motor Co. v. Montana Eighth Judicial Dist. Court, 141 S. Ct.

                   18 1017, 1031 (2021) (asking rhetorically why that holding, indisputably relevant to purposeful

                   19 direction, would affect a different factor).

                   20            Third, Twitter argues that Defendant knew it would react to the CID in California. See ECF

                   21 58 at 4. But “the fact that a [legal document] envisions one party discharging his obligations in the

                   22 forum state cannot, standing alone, justify the exercise of jurisdiction over another party” to that

                   23 document. Picot v. Weston, 780 F.3d 1206, 1213 (9th Cir. 2015) (rejecting personal jurisdiction in

                   24 a contract case).

                   25            Fourth, Twitter emphasizes General Paxton’s supposed goals and “aims,” ECF 58 at 4–6,

                   26 but “the purpose of a party’s action is not the lodestar for our [personal] jurisdictional
                   27 determination.” Morrill v. Scott Fin. Corp., 873 F.3d 1136, 1145 (9th Cir. 2017). A defendant’s

                   28 “subjective motivations are not material to the analysis.” Id. at 1148.
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                    1            Morrill illustrates these principles. There, the plaintiffs claimed that the defendants had

                    2 improperly initiated litigation in Nevada but served the complaint, served deposition subpoenas, and

                    3 engaged in discovery litigation in Arizona. Morrill, 873 F.3d at 1142–43. The Ninth Circuit held

                    4 that these actions were not purposefully directed at Arizona because they “were undertaken as part

                    5 of the [Nevada] litigation.” Id. at 1146. Of course, “Defendants knew that Plaintiffs were from

                    6 Arizona,” so “it was foreseeable that some injury to them could have been experienced there based

                    7 on the actions taken by Defendants in connection with the [Nevada] Litigation.” Id. at 1144. But

                    8 that was irrelevant: “‘Such reasoning improperly attributes a plaintiff’s forum connections to the

                    9 defendant and makes those connections “decisive” in the jurisdictional analysis.’” Id. at 1145

                   10 (quoting Walden v. Fiore, 571 U.S. 277, 289 (2014)).

                   11            Twitter’s argument fails for the same reasons. Mailing the CID was a “component part” of

                   12 the DTPA investigation and potential DTPA enforcement in Texas, under Texas law, for the

                   13 protection of Texas consumers. Id. at 1149. Twitter’s decision to locate its headquarters in

                   14 California does not mean the Office of the Texas Attorney General is “purposefully directing” its

                   15 activities to California. For these reasons, Twitter cannot show that Defendant’s “actions were

                   16 directed at [California], not just at individuals who resided there.” Id. at 1148–49.

                   17            Finally, Twitter baselessly claims that Defendant has “asserted a pseudo-national executive

                   18 authority” by trying to affect content moderation for “users in California.” ECF 58 at 10 (quoting

                   19 Def. Distributed v. Grewal, 971 F.3d 485, 493 (5th Cir. 2020)). That is not true. Defendant is

                   20 investigating potential misrepresentations to Texas consumers. See ECF 37 at 8 n.3. No matter what

                   21 representations Twitter made to California consumers and no matter what content-moderation

                   22 decisions it made, Twitter would not be the subject of this DTPA investigation if it had not made

                   23 potentially misleading representations to Texas consumers. See id. (collecting cases explaining the

                   24 scope of the Texas DTPA). The investigation addresses potential misrepresentations about content

                   25 moderation, not the substance of Twitter’s content-moderation decisions.3

                   26
                        Twitter’s footnoted request for discovery is wholly improper, both on the merits, see Pebble Beach
                        3
                   27
                      Co. v. Caddy, 453 F.3d 1151, 1160 (9th Cir. 2006) (“[W]here a plaintiff’s claim of personal
                   28 jurisdiction appears to be both attenuated and based on bare allegations in the face of specific denials
LEWIS                 (footnote continued)
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                    1                      2.   Twitter’s Claim Does Not Arise Out of or Relate to any California
                                                Contacts
                    2
                                 The Attorney General is also not subject to personal jurisdiction because Twitter’s claim
                    3
                        does not “arise[] out of or relate[] to the defendant’s forum-related activities.” Axiom Foods v.
                    4
                        Acerchem Int’l, Inc., 874 F.3d 1064, 1068 (9th Cir. 2017). Twitter cites only a single case, but it
                    5
                        turned on more than “the place of the plaintiff’s injury and residence.” ECF 58 at 7 (quoting Ford,
                    6
                        141 S. Ct. at 1032). Sure, those places “may be relevant” to this factor (though not the previous
                    7
                        one), but the Court emphasized the defendant “extensively promoted, sold, and serviced” “defective
                    8
                        products” in the forum state. Ford, 141 S. Ct. at 1032. The defendant was “a global auto company,”
                    9
                        and “its business [wa]s everywhere.” Id. at 1022. Needless to say, that is not true for the Office of
                   10
                        the Texas Attorney General. Defendant’s contacts with California, if any, are “isolated or sporadic”
                   11
                        and not sufficiently “continuous” to support personal jurisdiction under Ford. Id. at 1028 n.4.
                   12
                                           3.   Exercising Personal Jurisdiction Over the Texas Attorney General
                   13                           Would Be Unreasonable
                   14
                                 Twitter’s discussion of the reasonableness factors misunderstands state sovereignty. For the
                   15
                        third factor, it is undisputed that the “sovereign status of a defendant militates against the
                   16
                        reasonableness of jurisdiction.” Ins. Co. of N. Am. v. Marina Salina Cruz, 649 F.2d 1266, 1272 (9th
                   17
                        Cir. 1981). And “requiring [Texas] to submit to California jurisdiction constitutes an extreme
                   18
                        impingement on state sovereignty.” PTI, Inc. v. Philip Morris Inc., 100 F. Supp. 2d 1179, 1190 n.8
                   19
                        (C.D. Cal. 2000). Trying to avoid this precedent, Twitter proclaims that “this suit in no way
                   20
                        threatens any sovereign interest” because “it seeks to enjoin AG Paxton individually, in his official
                   21
                        capacity.” ECF 58 at 7.
                   22
                                 As an initial matter, that is a contradiction in terms. Suing a government official
                   23
                        “individually” and “in his official capacity” are two different things. See Kentucky v. Graham, 473
                   24
                        U.S. 159, 165 & n.10 (1985) (contrasting “[p]ersonal capacity suits,” which “are sometimes
                   25
                        referred to as individual-capacity” suits, and “[o]fficial-capacity suits”). Twitter brought an official-
                   26
                   27 made by the defendants, the Court need not permit even limited discovery.”) (alterations in original)

                   28 (citation omitted), and because it does not comply with the requirements for a motion. See, e.g.,
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                    1 capacity suit, not an individual-capacity suit. See ECF 1 ¶ 12.

                    2            But more importantly, official-capacity suits always implicate sovereign interests. The

                    3 Supreme Court has already rejected as “fiction[]” Twitter’s argument “that injunctive relief against

                    4 State officials acting in their official capacity does not run against the State.” Pennhurst State Sch.

                    5 & Hosp. v. Halderman, 465 U.S. 89, 114 n.25 (1984). “[A] suit against a state official in his or her

                    6 official capacity is not a suit against the official but rather is a suit against the official’s office. As

                    7 such, it is no different from a suit against the State itself.” Will v. Mich. Dep’t of State Police, 491

                    8 U.S. 58, 71 (1989) (citations omitted); see ECF 58 at 7–8. “[T]he State of [Texas] is the true

                    9 defendant in this case” even though Twitter named a state official to take advantage of the fact that

                   10 “Ex parte Young allows injunctive relief against the State in suits against state officers in their

                   11 official capacities.” In re Gee, 941 F.3d 153, 157 n.1, 166 (5th Cir. 2019) (per curiam); see Miranda

                   12 B. v. Kitzhaber, 328 F.3d 1181, 1189 (9th Cir. 2003) (noting that Ex parte Young applies even when

                   13 “the State is the real party at interest”). Contrary to Twitter’s claim, the Ex parte Young “fiction”

                   14 applies “for sovereign-immunity purposes,” not for this analysis. Va. Office for Prot. & Advocacy

                   15 v. Stewart, 563 U.S. 247, 255 (2011). Otherwise, “an official-capacity suit is, in all respects other

                   16 than name, to be treated as a suit against the [governmental] entity.” Graham, 473 U.S. at 166.

                   17            For the fourth factor, Twitter tries to minimize Texas’s interest in adjudicating this dispute

                   18 by suggesting that “[t]he validity of Texas law is not at issue.” ECF 58 at 8. That is nonsense.

                   19 Twitter is challenging a CID issued pursuant to the Texas Deceptive Trade Practices Act. If Twitter

                   20 is not challenging the validity of that statute, at least as applied, then it has no basis for overcoming

                   21 sovereign immunity. See Ex parte Young, 209 U.S. 123, 159 (1908) (creating an exception to

                   22 sovereign immunity for situations in which a state official attempts “to enforce a legislative

                   23 enactment which is void because unconstitutional”).

                   24            Twitter’s discussion of the other factors is no better. Twitter’s argument on the first factor—

                   25 the extent of the defendant’s purposeful interjection into the forum state’s affairs—reiterates the

                   26 same errors addressed above. See supra Part II.A.1. For the second factor—the burden on the
                   27 defendant—Twitter conflates the relative ease of filing amicus briefs, or joining a multistate

                   28 coalition, with the burden of having to defend against a constitutional challenge in a foreign State
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                    1 1,700 miles away. See ECF 58 at 8. Regarding the fifth factor—judicial efficiency—Twitter says

                    2 “starting over” in Texas would not be efficient, ECF 58 at 8, but much of this litigation has been,

                    3 and if this case goes forward in California will continue to be, devoted to procedural questions that

                    4 would not arise in Texas, such as personal jurisdiction and venue. As to the sixth factor, Twitter

                    5 complains that it does not want “to litigate . . . in a forum, and at a time, of [Defendants’] choosing.”

                    6 ECF 58 at 8. But Texas law allows the recipient of a CID to initiate proceedings and provides for

                    7 flexibility in the timing and the location. See Tex. Bus. & Com. Code § 17.61(g). Finally, Twitter

                    8 does not dispute the seventh factor: the availability of a Texas forum.

                    9            B.        The Office of the Attorney General Has Not Consented to Personal
                                           Jurisdiction
                   10
                                 Twitter implausibly argues that its boilerplate forum-selection clause has massive
                   11
                        implications for law enforcement. On Twitter’s theory, any enforcement action in any way related
                   12
                        to Twitter’s terms or services must be brought in San Francisco, so long as the government agency
                   13
                        has a Twitter account, as seemingly almost all do.4 And as Twitter tells it, those state and federal
                   14
                        agencies have all consented to private lawsuits challenging those enforcement actions being filed
                   15
                        in San Francisco. See ECF 58 at 12–15. The Court should reject such an absurd result, especially
                   16
                        when the text of the agreement itself gives the forum-selection clause a narrower scope.
                   17
                                 The forum-selection clause is one of the terms of service, and the terms of service explain
                   18
                        that they “govern [a user’s] access to and use of [Twitter’s] services.” ECF 5-3, Ex. K (p. 109 of
                   19
                        127). The gravamen of Twitter’s complaint has nothing to do with the Office of the Attorney
                   20
                        General’s “access to and use of [Twitter’s] services.” Id. As a result, the forum-selection clause
                   21
                        does not apply.
                   22
                        III.     California Is Not a Proper and Convenient Venue
                   23
                                 A.        Venue in California Is Improper
                   24
                                 In any event, “a forum-selection clause has no bearing on whether a case falls into one of
                   25
                        the categories of cases listed in” the venue statute. Atl. Marine Const. Co., Inc. v. U.S. Dist. Court
                   26
                   27

                   28
                        4
                         See, e.g., U.S. Dep’t of Justice, @TheJusticeDepartment, https://twitter.com/TheJusticeDept; Fed.
LEWIS                   Trade Comm’n, @FTC, https://twitter.com/FTC.
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                    1 for W. Dist. of Tex., 571 U.S. 49, 56 (2013) (citing 28 U.S.C. § 1391(b)). So here, venue is improper

                    2 because “a substantial part of the events or omissions giving rise to the claim” did not occur in the

                    3 Northern District of California. 28 U.S.C. § 1391(b)(2); see ECF 37 at 14–17.

                    4            Twitter’s response relies on the same misunderstanding about where the Office of the

                    5 Attorney General’s actions occurred as was discussed in the context of personal jurisdiction. See

                    6 supra Part II.A. Defendants’ activities, which are the “focus” of a venue analysis, see ECF 37 at 15,

                    7 all occurred in Texas, see id. at 17.

                    8            Twitter all but ignores the seminal case in this area, Leroy v. Great Western United Corp.,

                    9 443 U.S. 173, 185 (1979), which held that when a State’s law is challenged there is “only one

                   10 obvious locus,” that State. It disapproved venue in another State, even if that is “where [the

                   11 challenged] statute had its impact on” the plaintiff. Id. at 186. Twitter tires to avoid Leroy’s force

                   12 with a single sentence claiming that it “is not challenging a Texas law, or ordinary application of a

                   13 Texas law to Twitter’s conduct in Texas,” see ECF 58 at 12, but that is exactly what Twitter is

                   14 doing. See supra Part II.A.3.

                   15            Twitter also fails to confront the Ninth Circuit’s application of Leroy: “[T]here is a valid

                   16 ‘interest in preventing [Texas] officials from being haled into court in any state where a resident’s

                   17 conduct in [Texas] subjects it to possible [Texas] enforcement action.’” Dedication and Everlasting

                   18 Love to Animals v. Commonwealth of Pennsylvania, Bureau of Charitable Organizations, 101 F.

                   19 App’x 224, 2004 WL 1336737 (9th Cir. 2004) (quoting Order Granting Def.’s Mot. Dismiss for

                   20 Improper Venue, No. 2:02-cv-6483, ECF 15 at 1–2 (C.D. Cal. Dec. 12, 2002)).

                   21            Twitter does cite Kalman v. Cortes, 646 F. Supp. 2d 738 (E.D. Pa. 2009), for its focus on

                   22 where “suppression” of speech occurred, see ECF 58 at 11, but that case involved a substantive

                   23 prohibition on the plaintiff’s speech. Here, Twitter addresses only hypothetical chilling of a person

                   24 of ordinary firmness, not any real-world suppression of its own speech. See supra Part I.

                   25            Twitter also emphasizes a multi-state amicus brief submitted in a Texas court. See ECF 58

                   26 at 1, 16. That case involved different claims and different issues (e.g., there was no retaliation claim),
                   27 but it is worth noting that the Court ultimately found venue improper and transferred the case to the

                   28 home state of a defendant. See Exxon Mobil Corp. v. Schneiderman, No. 4:16-cv-469, ECF 180 at
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                    1 12 (N.D. Tex. Mar. 29, 2017).

                    2            B.        Venue in California Is Inconvenient

                    3            Twitter’s response focuses on the supposed lack of evidence establishing the inconvenience

                    4 a state agency faces litigating 1,700 miles away in another State. See ECF 58 at 24. But the only

                    5 relevant facts are undisputed, established as a matter of law, and subject to judicial notice. See, e.g.,

                    6 ECF 37 at 18–19 (citing government reports showing reduced court congestion in the Western

                    7 District of Texas); Stone v. U.S. Sec. Assocs., Inc., No. 15-cv-235, 2015 WL 2438029, at *2 (N.D.

                    8 Cal. May 21, 2015) (taking judicial notice of judicial caseload profiles in granting motion to transfer

                    9 venue).

                   10            Twitter does not dispute that its suit “might have been brought” in the Western District of

                   11 Texas. Twitter tries to downplay the interests of Texas courts in adjudicating this dispute, see ECF

                   12 38 at 25, but the public interest factors strongly favor adjudicating the constitutionality of a Texas

                   13 agency’s actions in Texas. See ECF 37 at 19.

                   14 IV.        The Court Should Abstain

                   15            First, Twitter argues that “Pullman abstention is not a basis to dismiss a case.” ECF 58 at

                   16 22. It is when a federal court abstains in favor of a Texas court. See Harris Cty. Com’rs Court v.

                   17 Moore, 420 U.S. 77, 89 & n.14 (1975) (ordering dismissal for reasons unique to Texas); ECF 37 at

                   18 21.

                   19            Second, Twitter suggests that the court must decide the preliminary-injunction motion before

                   20 abstaining. See ECF 58 at 22. That is wrong. Because abstention is warranted, a federal injunction

                   21 would be inconsistent with comity. See, e.g., Albertson v. Millard, 345 U.S. 242, 245 (1953)

                   22 (vacating a federal restraining order to allow state-court litigation to proceed); Burdick v. Takushi,

                   23 846 F.2d 587, 589 (9th Cir. 1988) (vacating an injunction because district court should have

                   24 abstained under Pullman); Neal v. Brim, 506 F.2d 6, 11 (5th Cir. 1975) (dissolving a federal

                   25 injunction because the district court should have abstained under Pullman).

                   26            Third, Twitter claims courts should not abstain in First Amendment cases. ECF 58 at 22. But
                   27 “there is no absolute rule against abstention in first amendment cases.” Almodovar v. Reiner, 832

                   28 F.2d 1138, 1140 (9th Cir. 1987). Indeed, one of the cases cited by Twitter explains that “while the
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                    1 Supreme Court has been ‘particularly reluctant to abstain in cases involving facial challenges to the

                    2 First Amendment,’ . . . . [s]uch concerns . . . are not implicated where an ‘as applied’ challenge to

                    3 the First Amendment is made.” Chez Sex III Corp. v. Twp. of Union, 945 F.2d 628, 633–34 (3d Cir.

                    4 1991) (approving abstention in a First Amendment case). Abstention in as-applied cases is

                    5 problematic, at most, when “the delay that comes from abstention may itself chill the First

                    6 Amendment rights at issue.” Porter v. Jones, 319 F.3d 483, 492–93 (9th Cir. 2003). As explained

                    7 above, however, that concern does not apply here because Twitter does not allege that its speech is

                    8 actually chilled, only that a hypothetical person of ordinary firmness might be chilled. See supra

                    9 Part I. Thus, there is no pressing First Amendment harm.

                   10            Finally, Twitter is wrong to suggest that Pullman abstention is inappropriate because there

                   11 is no ambiguity of state law. See ECF 58 at 22–23. The state-law issue is whether an allegedly

                   12 retaliatory motive prevents a civil investigative demand from being proper under Texas Business

                   13 and Commerce Code § 17.61(a). See ECF 37 at 19. The purpose of the ambiguity requirement is to

                   14 ensure that a federal court will not abstain unless a state-court ruling really could “obviate[]” the

                   15 need for federal adjudication. Quackenbush v. Allstate Ins. Co., 517 U.S. 706, 716–17 (1996).

                   16 Twitter does not dispute that a state-court ruling could have that effect. Indeed, Twitter seems to

                   17 suggest there is no ambiguity because it assumes a state court would interpret state law to prohibit

                   18 a civil investigative demand issued with a retaliatory motive. See ECF 58 at 23. That makes this a

                   19 textbook case for Pullman abstention. See R.R. Comm’n of Tex. v. Pullman Co., 312 U.S. 496, 501

                   20 (1941) (“If there was no warrant in state law for the Commission’s assumption of authority there is

                   21 an end of the litigation; the constitutional issue does not arise.”).

                   22            Twitter’s argument completely ignores the most factually analogous case, Morningside

                   23 Church, Inc. v. Rutledge, 3:20-cv-05050, 2020 WL 5077255, at *1 (W.D. Mo. Aug. 27, 2020). See

                   24 ECF 37 at 20. There, the plaintiffs sought “prospective declaratory and injunctive relief,” including

                   25 on a First Amendment claim, against two California District Attorneys, the City Attorney for the

                   26 City of Los Angeles, and the Attorney General for the State of Arkansas. Id. As in this case, the
                   27 plaintiffs challenged “informational inquiries and document requests from Defendants investigating

                   28 constituent complaints of possible consumer fraud, as well as any action that may be taken in follow
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                    1 up to those informational requests, infringe upon their” First Amendment rights. Id. The court

                    2 abstained. See id. at *4. Twitter does not try to distinguish the case.

                    3            Regarding its request for declaratory judgment, Twitter denies that the Office of the Attorney

                    4 General is the “natural plaintiff” entitled to choose the forum. ECF 58 at 23. But disputes about the

                    5 merits of an investigation are most naturally resolved in the resulting enforcement action, which in

                    6 this case would be brought, if at all, by the Office of the Attorney General. Instead of respecting the

                    7 process established by Texas law, Twitter has only pretended to. After Twitter represented that it

                    8 would “be in touch next week about setting up [the] next meet and confer,” ECF 38-2 ¶ 21, Twitter

                    9 secretly retained new counsel, prepared this lawsuit, and threatened Texas with a surprise temporary

                   10 restraining order. Id. ¶¶ 21, 23. That kind of behavior should not be rewarded. That is why “a suit

                   11 for declaratory judgment aimed solely at wresting the choice of forum from the ‘natural’ plaintiff

                   12 will normally be dismissed.” BASF Corp. v. Symington, 50 F.3d 555, 558 (8th Cir. 1995).

                   13                                               CONCLUSION

                   14            Defendant respectfully requests that the Court dismiss this case or, in the alternative, transfer

                   15 it to the Western District of Texas.

                   16 Dated: April 23, 2021                               Respectfully submitted.

                   17                                                     /s/ Patrick K. Sweeten
                                                                          Patrick K. Sweeten
                   18
                                                                          Deputy Attorney General for Special Litigation
                   19                                                     Ken Paxton
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                   20                                                     Brent Webster
                                                                          First Assistant Attorney General
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                   22
                                                                          William T. Thompson
                   23                                                     Deputy Chief, Special Litigation Unit
                                                                          Ryan D. Walters
                   24                                                     Special Counsel
                   25                                                     LEWIS BRISBOIS BISGAARD & SMITH LLP
                   26
                                                                          /s/ Michael K. Johnson
                   27                                                     Michael K. Johnson
                                                                          Attorneys for Defendant
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                    1                                   CERTIFICATE OF SERVICE
                                                        Twitter Inc. v. Ken Paxton, et. al.
                    2                      USDC-ND, San Francisco Division, Case No. 3:21-cv-1644-MMC

                    3 STATE OF TEXAS, COUNTY OF TRAVIS

                    4           At the time of service, I was over 18 years of age and not a party to the action. My business
                      address is P.O. Box 12548 (MC-009), Austin, Tx 78711-2548. I am employed in the office of a
                    5 member of the bar of this Court at whose direction the service was made.

                    6
                                 On April 23, 2021, I served the following document:
                    7
                      DEFENDANT’S MOTION TO DISMISS OR, IN THE ALTERNATIVE, MOTION TO TRANSFER;
                    8 MEMORANDUM OF POINTS AND AUTHORITIES

                    9            The document was served by the following means:

                   10  (BY COURT’S CM/ECF SYSTEM) Pursuant to Local Rule, I electronically filed the
                      document with the Clerk of the Court using the CM/ECF system, which sent notification of that
                   11 filing to all persons registered by the Court to receive Notifications of Electronic Filing.

                   12          I declare under penalty of perjury under the laws of the United States of America that the
                        foregoing is true and correct.
                   13

                   14 Dated: April 23, 2021                                /s/ Patrick K. Sweeten
                                                                          Patrick K Sweeten
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